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                           UNITED STATES DISTRICT COURT
                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                   WESTERN DIVISION

Congcong Shao,                                  No. CV 21-6002 MWF (JPRx)
             Plaintiff,
                                                ORDER DISMISSING ACTION
                    v.
Alejandro Mayorkas, Secretary
Department of Homeland Security,
Tracy Renaud, Acting Director, USCIS,           Honorable Michael W. Fitzgerald
David Radel, Director, Los Angeles              United States District Judge
Asylum Office,
             Defendants.

       Having read and considered the parties’ Joint Stipulation of Dismissal, and finding
 good cause therefore,
       THE COURT HEREBY ORDERS that the stay in this action, CV 21-6002 MWF
 (JPRx), is lifted and the action is dismissed in its entirety, with each party to bear its own
 costs and fees.


 Dated: October 15, 2021
                                         MICHAEL W. FITZGERALD
                                         United States District Judge
